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                                 Exhibit A
                           List of Amici Curiae

Dan Backer                    Federal trial and appellate lawyer

Roy Barrera, Jr.              Federal trial and appellate lawyer

Robert J. Bittman             Federal trial and Appellate lawyer

                              Former Deputy Independent Counsel – Whitewater

John Stuart Bruce             Federal trial and appellate lawyer

                              Former (The) United States Attorney, EDNC

Jackie Bennett                Federal trial lawyer

                              Former Deputy Independent Counsel – Whitewater

                              Former DOJ Attorney (Public Integrity Section)

                              Former Assistant United States Attorney, SDIN

Margot Cleveland              Retired career federal law clerk (7th Circuit)

Ronald D. Coleman             Federal trial and appellate lawyer

Eric Evenson                  Former Assistant United States Attorney, EDNC

                              Former Chief – Organized Crime/Drug
                              Enforcement Tas Force, EDNC

Jack C. Frels                 Former Assistant United States Attorney, SDTX

                              Former Chief – Criminal Division, SDTX

                              Former Assistant United States Attorney, WDTX

                              Former Chief OCDETF/Narcotics Section, WDTX

Chris K. Gober                Federal trial lawyer


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Steven D. Gordon              Federal trial and appellate lawyer

                              Former Assistant United States Attorney, DDC

                              Former Chief of Felony Trial, DDC

Trey Gowdy                    Former Assistant United States Attorney, DSC

Robert Harvey                 Federal trial and appellate attorney

                              Former Judge Advocate General, USN

Kenneth Julian                Federal criminal trial attorney

                              Former Assistant United States Attorney, CDCA

                              Former Deputy Chief, CDCA

Joseph T. Knott, III          Federal trial and appellate lawyer

                              Former Assistant United States Attorney, EDNC

Douglas McCullough            Retired Judge, NC Court of Appeals

                              Former Assistant United States Attorney, EDNC

                              Former Acting United States Attorney, EDNC

Marina Medvin                 Career criminal defense attorney

John M. Reeves                Federal trial and appellate lawyer

                              Former Missouri Assistant Attorney General

Wayne A. Rich, Jr.            Former (The) United States Attorney, SDWV

                              Former Principal Deputy Director of the Executive
                              Office of the United States Attorneys

                              Former Military Judge, Col USMCR (ret.)
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John P. Rowley, III           Federal trial and appellate lawyer

                              Former Assistant United States Attorney, EDVA

Kevin H. Sharp                Federal trial and appellate lawyer

                              Former United States District Judge, MDTN

William Shipley               Federal criminal trial and appellate lawyer

Matthew H. Simmons            Federal trial and appellate lawyer

Kenneth W. Starr              Former Solicitor General of the United States

                              Former Independent Counsel – Whitewater

Carla Kerr Stearns            Federal trial and appellate lawyer

William A. “Bill” Webb        Mediator

                              Former United States Magistrate Judge, EDNC

                              Former (The) Public Defender, EDNC

                              Former Chief, OCDETF, EDNC

                              Former Assistant United States Attorney, EDNC

                              Former Assistant United States Attorney, WDPA

Solomon L. Wisenberg          Federal trial and appellate lawyer

                              Former Deputy Independent Counsel – Whitewater

                              Former Assistant United States Attorney, WDTX

                              Former Chief -Financial Institution Fraud, WDTX

                              Former Assistant United States Attorney, EDNC


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Ronald G. Woods              Former (The) United States Attorney, SDTX

                             Former Assistant United States Attorney, SDTX

                             Former Special Agent, FBI




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